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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                               CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

                  Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

              Defendants.
  ______________________________/


                        GOVERNMENT’S SUPPLEMENTAL RESPONSE
                           TO STANDING DISCOVERY ORDER

         The United States of America, by and through the Special Counsel’s Office, files this

  pleading to supplement prior responses (ECF Nos. 30, 59, 80, 92, 113, 122, 143, 172, 184, 190,

  199, 204, 235, 253, 273, 291, 330, 362, 371) to the Standard Discovery Order, issued on June 13,

  2023 (ECF No. 16).      This pleading complies with Local Rule 88.10 and Federal Rule of Criminal

  Procedure 16.

         Per the CIPA Section 3 protective orders issued in this case (ECF Nos. 150, 151, 152), the

  Government has provided eight prior productions of classified discovery. See ECF Nos. 158 at

  3; 165 at 5-6; 173 at 5-6; 187 at 5-7; 190; 199; 204; 235; 291.          On March 25, 2024, the

  Government provided to the Classified Information Security Officer (“CISO”) in an accredited

  facility in the Southern District of Florida a ninth production of classified discovery (“Classified

  Production 9”). Classified Production 9, which consists of approximately 56 pages, includes

  additional emails the Government has characterized as “after-action reports.”
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         The Government responds to the specific items identified in the standing discovery order

  as set forth below.

         B.      DEMAND FOR RECIPROCAL DISCOVERY: The United States requests the
                 disclosure and production of those items described and listed in paragraph B of the
                 Standing Discovery Order, and as provided by Federal Rule of Criminal Procedure
                 16(b).

         C.      The Government is providing information or material known to the United States
                 that may be favorable to either defendant on the issues of guilt or punishment within
                 the scope of Brady v. Maryland, 373 U.S. 83 (1963), or United States v. Agurs, 427
                 U.S. 97 (1976).

         D.      The Government has disclosed and will continue to disclose any payments,
                 promises of immunity, leniency, preferential treatment, or other inducements made
                 to prospective Government witnesses, within the scope of Giglio v. United States,
                 405 U.S. 150 (1972), or Napue v. Illinois, 360 U.S. 264 (1959).

         J.      The Government’s discovery productions include the grand jury testimony and
                 recordings of witnesses who may testify for the Government at the trial of this case.

         The Government is aware of its continuing duty to disclose newly discovered additional

  information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules of Criminal

  Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.



                                                Respectfully submitted,

                                                JACK SMITH
                                                Special Counsel

                                        By:     /s/ Jay I. Bratt
                                                Jay I. Bratt
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                                     David V. Harbach, II
                                     Assistant Special Counsel
                                     Special Bar ID #A5503068




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 25, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.



                                               /s/ Jay I. Bratt
                                               Jay I. Bratt




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